     Case 1:19-cv-11676-NMG Document 64-1 Filed 12/30/21 Page 1 of 7




                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS


                                                        )
SECURITIES AND EXCHANGE COMMISSION,                     )
                                                        )
                       Plaintiff,                       )
                                                        )
         V.                                             )     Civil Action No. 19-11676-NMG
                                                        )
TANMAYA KABRA, a/k/a TAN KABRA, and                     )
LAUNCHBYTE.1O, LLC a/k/a                                )
THE KABRA GROUP, LLC,                                   )
                                                        )
                       Defendants.                      )

________________
                                                        )
                                                        )


                      CONSENT OF DEFENDANT TANMAYA KABRA

         1.     Defendant Tanmaya Kabra, a/k/a Tan Kabra ("Defendant") acknowledges having

been served with the complaint in this action, enters a general appearance, and admits the

Court's jurisdiction over Defendant and over the subject matter of this action.

         2.     Defendant has pleaded guilty to criminal conduct relating to certain matters

alleged in the complaint in this action. Specifically, in United States v. Kabra, Case No. I: l 9-cr-

10335-DJC (D. Mass), Defendant pleaded guilty to four counts of wire fraud in violation of 18

U.S.C. § 1343. This Consent shall remain in full force and effect regardless of the existence or

outcome of any further proceedings in United States v. Kabra, Case No. 1: 19-cr-10335-DJC (D.

Mass).

         3.    Defendant hereby consents to the entry of the final Judgment in the form attached

hereto (the "Final Judgment") and incorporated by reference herein, which, among other things:

               (a)     permanently restrains and enjoins Defendant from violation of Section
Case 1:19-cv-11676-NMG Document 64-1 Filed 12/30/21 Page 2 of 7
Case 1:19-cv-11676-NMG Document 64-1 Filed 12/30/21 Page 3 of 7
Case 1:19-cv-11676-NMG Document 64-1 Filed 12/30/21 Page 4 of 7
Case 1:19-cv-11676-NMG Document 64-1 Filed 12/30/21 Page 5 of 7
Case 1:19-cv-11676-NMG Document 64-1 Filed 12/30/21 Page 6 of 7
Case 1:19-cv-11676-NMG Document 64-1 Filed 12/30/21 Page 7 of 7
